Case 1:04-cv-01320-.]DT-STA Document 3 Filed 04/18/05 Page 1 of 3 Page|D 1

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IN THE UNITED sTATEs DISTRICT coURT BY‘L D.C.
FoR THE WESTERN DISTRICT oF TENNESSEE 95 APR 13 P,, ,_ _
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CALVIN o. TANKESLY, JR., q J’:C
Petitioner, §

VS. § No. 04-1320-T/An

STEPHEN DOTSON, §
Respondent. §

 

ORDER GRANTING LEAVE TO PROCEED IN FOR]l/L¢f PA UPERIS
AND
ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 224l(d)

 

Petitioner Calvin O. Tankesly, Jr., Tennessee Department of Correction (“TDOC”)
prisoner number 90944, an inmate at the Whiteville Correctional Facility (“WCF”) in
Whiteville, Tennessee, filed a pro se petition pursuant to 28 U.S.C. § 2254 on December 7,
2004, along with an application to proceed in forma pauperis Based on the information set
forth in the petitioner’s affidavit, the motion to proceed in forma pauperis is GRANTED.
The Clerk of Court shall record the respondent as WCF Warden Stephen Dotson.‘

Twenty-eight U.S.C. § 2241(d)provides:

Where an application for a writ of habeas corpus is made by a person
in custody under the judgment and sentence of a State court of a State Which

 

1 Although the petition lists TDOC Commissioner Quenton White as an additional respondent, the proper
respondent to a habeas petition is the warden of the facility in which the petitioner is incarcerated § Rumsfelcl v.
Padilla, 124 S. Ct. 2711, 2718 (2004). The Clerk is directed to remove White as a party to this action.

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with Rule 58 andlor 79 (a) FRCP on 3

Case 1:04-cv-Ol320-.]DT-STA Document 3 Filed 04/18/05 Page 2 of 3 Page|D 2

contains two or more Federal judicial districts, the application may be filed in
the district court for the district wherein such person is in custody or in the
district court for the district within which the State court was held Which
convicted and sentenced him and each of such district courts shall have
concurrent jurisdiction to entertain the application The district court for the
district wherein such an application is filed in the exercise of its discretion and
in furtherance of j ustice may transfer the application to the other district court
for hearing and determination

It is the practice of the federal district courts in Tennessee that all § 2254 petitions are to be
heard in the district in which the conviction was obtained

In this petition, Tankesly is challenging a conviction and sentence that was obtained
in the Davidson County Criminal Court. Davidson County is in the Nashville Division of
the Middle District of Tennessee. 28 U.S.C. § 123(b)(1).

Therefore, this case is hereby TRANSFERRED, pursuant to 28 U.S.C. § 1406(a), to

the Nashville Division of the Middle District of Tennessee.

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IT IS SO ORDERED this f il day oprril, 2005.

nw

JAM D. TODD
UNI D STATES DISTRICT JUDGE

 

 

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UNlTsED`ATEs DsITRICT C URT - WEsTER D"IsRICT oF TNNEssEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:04-CV-01320 was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

Calvin O. Tankesly
90944

P.O. Box 679
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

